         Case 2:19-cr-00035-DAD Document 75 Filed 06/03/20 Page 1 of 1
                                                                                           FILED
                                                                                       June 3, 2020
                       UNITED STATES DISTRICT COURT FOR THE                        CLERK, US DISTRICT COURT
                                                                                     EASTERN DISTRICT OF
                                                                                          CALIFORNIA
                           EASTERN DISTRICT OF CALIFORNIA                                  DEPUTY CLERK



UNITED STATES OF AMERICA,                  )
                                           )                 Case No. 2:19-cr-00035-MCE
              Plaintiff,                   )
v.                                         )
                                           )                 ORDER FOR RELEASE OF
ROSELLE CIPRIANO,                          )                  PERSON IN CUSTODY
           Defendant.                      )
                                           )

TO:    UNITED STATES MARSHAL:

       This is to authorize and direct you to release, ROSELLE CIPRIANO, Case No.

2:19-cr-00035-MCE from custody subject to the conditions contained in the attached “Notice to

Defendant Being Released” and for the following reasons:

              Release on Personal Recognizance

        X     Bail Posted in the Sum of: $100,000.00.

               X      Co-Signed Unsecured Appearance Bond

                      Secured Appearance Bond

                X      (Other) Conditions as stated on the record.

                X     (Other) Third Party Custody Agreement.

       This release order is not effective until the date defendant has signed and understands the attached

“Notice to Defendant Being Released”.

       Issued at Sacramento, CA on 6/3/2020          at   2:25 p.m.




                                                     By
                                                          Edmund F. Brennan
                                                          United States Magistrate Judge
